    Case 1:01-cv-12257-PBS Document 6528-80 Filed 09/22/09 Page 1 of 7




                               Exhibit 79



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
        Case 1:01-cv-12257-PBS Document 6528-80 Filed 09/22/09 Page 2 of 7

DeParle, Nancy-Ann Min - Vol. II                                December 5, 2007
                                 Washington, DC

                                                                            Page 328
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL       )   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     )   CIVIL ACTION

    PRICE LITIGATION               )   01-CV-12257-PBS

    THIS DOCUMENT RELATES TO       )

    U.S. ex rel. Ven-a-Care of     )   Judge Patti B. Saris

    the Florida Keys, Inc.         )

         v.                        )   Chief Magistrate

    Abbott Laboratories, Inc.,     )   Judge Marianne B.

    No. 06-CV-11337-PBS            )   Bowler

    - - - - - - - - - - - - - - -

             (captions continue on following pages)




       Videotaped deposition of NANCY-ANN MIN DEPARLE

                            Volume 2




                    Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com

                                                                  2bb07b98-05e4-4ace-bd89-45568f7b1cdf
             Case 1:01-cv-12257-PBS Document 6528-80 Filed 09/22/09 Page 3 of 7

DeParle, Nancy-Ann Min - Vol. II                                                  December 5, 2007
                                        Washington, DC
                                          Page 329                                                  Page 331
 1      IN THE COURT OF THE SECOND JUDICIAL CIRCUIT   1        IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
 2           IN AND FOR LEON COUNTY, FLORIDA          2                STATE OF HAWAII
 3   THE STATE OF FLORIDA                             3    ---------------
 4   ex rel.                                          4    STATE OF HAWAII,             )
 5   ------------------                               5            Plaintiff,   ) Case No.
 6   VEN-A-CARE OF THE FLORIDA KEYS, )                6        vs.            ) 06-1-0720-04 EEH
 7   INC., a Florida Corporation, by and )            7    ABBOTT LABORATORIES, INC., )
 8   through its principal officers and )             8    et al.,            ) JUDGE EDEN
 9   directors, ZACHARY T. BENTLEY and )              9            Defendants. ) ELIZABETH HIFO
10   T. MARK JONES,                     )            10    ---------------
11            Plaintiffs,       ) Civil Action       11
12       vs.                  ) No. 98-3032G         12     IN THE FOURTH JUDICIAL DISTRICT OF THE STATE OF
13   MYLAN LABORATORIES INC.; MYLAN              )   13         IDAHO, IN AND FOR THE COUNTY OF ADA
14   PHARMACEUTICALS INC.; NOVOPHARM ) Judge William 14    --------------
15   LTD., SCHEIN PHARMACEUTICAL, INC.; ) L. Gary    15    STATE OF IDAHO,            )
16   TEVA PHARMACEUTICAL INDUSTRIES               )  16           Plaintiff, )
17   LTD.; TEVA PHARMACEUTICAL USA; and )            17       vs.           ) Case No. CV OC 0701846
18   WATSON PHARMACEUTICALS, INC.,             )     18    ABBOTT LABORATORIES,            )
19            DEFENDANTS.               )            19           Defendant. )
20   ------------------                              20    --------------
21                                                   21
22                                                   22

                                          Page 330                                                  Page 332
 1             IN THE CIRCUIT COURT OF                 1     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
 2           MONTGOMERY COUNTY, ALABAMA                2        COUNTY DEPARTMENT, CHANCERY DIVISION
 3   ---------------                                   3   ---------------
 4   STATE OF ALABAMA,              )                  4   THE PEOPLE OF THE STATE OF )
 5           Plaintiff,   )                            5   ILLINOIS,              )
 6       vs.            ) Case No. CV-2005-219         6          Plaintiff,   ) Case No. 05 CH 02474
 7   ABBOTT LABORATORIES, INC., ) Judge Charles Price 7       vs.            )
 8   et al.,            )                              8   ABBOTT LABORATORIES, et al., )
 9           Defendants.    )                          9          Defendants. )
10   ---------------                                  10   ---------------
11                                                   11
12         STATE OF WISCONSIN CIRCUIT COURT          12            COMMONWEALTH OF KENTUCKY
13               DANE COUNTY                         13          FRANKLIN CIRCUIT COURT - DIV. II
14   ----------------                                14    ------------------
15   STATE OF WISCONSIN,            )                15    COMMONWEALTH OF KENTUCKY,            )
16         Plaintiff,    )                           16          Plaintiff,    ) Civil Action
17     vs.             ) Case No. 04-CV-1709         17      vs.             ) NO. 03-CI-1134
18   AMGEN INC., et al.,       )                     18    ABBOTT LABORATORIES, INC., et al., )
19         Defendants.     )                         19          Defendants.      )
20   ----------------                                20    ------------------
21                                                   21
22                                                   22

                                                                              2 (Pages 329 to 332)
                        Henderson Legal Services, Inc.
202-220-4158                                               www.hendersonlegalservices.com

                                                                                      2bb07b98-05e4-4ace-bd89-45568f7b1cdf
             Case 1:01-cv-12257-PBS Document 6528-80 Filed 09/22/09 Page 4 of 7

DeParle, Nancy-Ann Min - Vol. II                                                   December 5, 2007
                                          Washington, DC
                                             Page 333                                               Page 335
 1        IN THE COMMONWEALTH COURT OF PENNSYLVANIA 1             A P P E A R A N C E S (Cont'd)
 2   ------------------                                 2
 3   COMMONWEALTH OF PENNSYLVANIA by )                  3      On behalf of the U.S. Department of Health and
 4   THOMAS W. CORBETT, JR., in his )                   4          Human Services:
 5   capacity as Attorney General of the)               5        DEBORAH M. CHASAN-SLOAN, ESQ.
 6   Commonwealth of Pennsylvania, )                    6        U.S. Department of Health & Human
 7           Plaintiff,        )                        7          Services
 8       vs.                 )                          8        Office of General Counsel, CMS Division
 9   TAP PHARMACEUTICAL PRODUCTS, INC., )               9        330 Independence Avenue, S.W., Room 5345
10   et al.,                 )                         10        Washington, D.C. 20201
11           Defendants.         )                     11        (202) 619-2603
12   ------------------                                12
13                    Washington, D.C.                 13      On behalf of the State of Alabama:
14                    Wednesday, December 5, 2007      14        H. CLAY BARNETT, III, ESQ. (via phone)
15                    9:00 a.m.                        15        Beasley, Allen, Crow, Methvin, Portis &
16        Videotaped deposition of NANCY-ANN MIN       16          Miles, P.C.
17   DEPARLE, held at the law offices of Jones Day, 51 17        218 Commerce Street
18   Louisiana Avenue, N.W., Washington, D.C.          18        Montgomery, Alabama 36104
19   20001-2113,, the proceedings being recorded       19        (800) 898-2034
20   stenographically by Jonathan Wonnell, a Notary    20        clay.barnett@beasleyallen.com
21   Public in and for the District of Columbia, and   21
22   transcribed under his direction.                  22
                                             Page 334                                               Page 336
 1      APPEARANCES OF COUNSEL                           1        A P P E A R A N C E S (Cont'd)
 2                                                       2
 3       On behalf of the United States of America:      3      On behalf of the State of California:
 4         REBECCA A. FORD, ESQ.                         4        NICHOLAS N. PAUL, ESQ. (via phone)
 5         U.S. Department of Justice                    5        Supervising Deputy Attorney General
 6         Civil Division, Commercial Litigation         6        Civil Prosecutions Unit
 7         601 D Street, N.W., Room 9133                 7        P.O. Box 85266
 8         Washington, D.C. 20044                        8        110 West A Street, #1100
 9         (202) 514-1511                                9        San Diego, California 82186
10         rebecca.ford@usdoj.gov                       10        (619)-688-6099
11                                                      11        nicholas.paul@doj.ca.gov
12       On behalf of the United States of America:     12
13         JAMIE ANN YAVELBERG, ESQ.                    13      On behalf of the State of Florida:
14         U.S. Department of Justice                   14        MARY S. MILLER, ESQ. (via phone)
15         Civil Division                               15        Office of the Attorney General of Florida
16         P.O. Box 261, Ben Franklin Station           16        PL-01, The Capitol
17         Washington, D.C. 20044                       17        Tallahassee, Florida 32399-1050
18         (202) 514-6514                               18        (850) 414-3600
19                                                      19        mary_miller@oag.state.fl.us
20                                                      20
21                                                      21
22                                                      22

                                                                              3 (Pages 333 to 336)
                         Henderson Legal Services, Inc.
202-220-4158                                                 www.hendersonlegalservices.com

                                                                                      2bb07b98-05e4-4ace-bd89-45568f7b1cdf
              Case 1:01-cv-12257-PBS Document 6528-80 Filed 09/22/09 Page 5 of 7

DeParle, Nancy-Ann Min - Vol. II                                                      December 5, 2007
                                             Washington, DC
                                                Page 657                                                Page 659
 1      A. No.                                         1        therein that the drug companies themselves were
 2         MR. HAVILAND: Okay. I have no more          2        the ones who set the AWPs that were published by
 3   questions, Ms. DeParle. I appreciate your time.   3        First Databank, Medi-Span and Red Book? Do you
 4         MR. LIBMAN: This is Ms. Libman. Am I        4        recall that?
 5   next up with a few questions, if I could?         5               MR. COOK: Objection to form.
 6         MS. YAVELBERG: Yes.                         6           A. I recall -- well, generally. I'm
 7                                                     7        hesitating because you said First Databank and I
 8              EXAMINATION BY COUNSEL FOR THE         8        don't remember that. I remember Red Book, Blue
 9              STATES OF ALASKA, HAWAII, IDAHO,       9        Book and Medi-Span.
10              ILLINOIS, KENTUCKY, SOUTH CAROLINA 10              Q. Okay. But as to those three publishers
11              AND WISCONSIN                         11        you understood that among other things they
12   BY MR. LIBMAN:                                   12        published information including AWPs for certain
13       Q. Ms. DeParle, I'm having a hard time       13        drugs; is that correct?
14   hearing you. Let me try something else here.     14           A. Yes.
15   Can you hear me Ms. DeParle?                     15           Q. And do you recall the HHS OIG report,
16       A. Yes.                                      16        one of those that was shown to your earlier
17       Q. Great. My name is Robert Libman. And      17        today, indicated that it was the drug company
18   I'm outside counsel seven states I identified    18        that set the AWPs that were published by those
19   earlier -- they include Alaska, Hawaii, Idaho,   19        publications?
20   Illinois, Kentucky, South Carolina and Wisconsin 20           A. You know, I'm sorry. It's been a long
21   -- in litigation brought against numerous drug   21        day. I don't remember that precisely.
22   companies, including those who have been sued by 22           Q. That's fine. Was that your
                                                Page 658                                                Page 660
 1   the U.S. Department of Justice.                        1   understanding during the time you were HCFA
 2          Our claims are brought under state law          2   administrator that the AWPs that were published
 3   and among other things allege that all the             3   in those publications were in fact set and
 4   defendants have reported and caused to be              4   controlled by the drug manufacturers?
 5   published average wholesale price for their drugs      5       A. No.
 6   that are in fact not true prices, not true             6       Q. Are you aware that in the cases for the
 7   average prices and not true average wholesale          7   states whom I represent that the drug companies,
 8   prices. In other words, not the price, the             8   many of the drug companies have admitted that
 9   average price charged by wholesalers to their          9   they in fact reported AWPs to these publications
10   customers.                                            10   intending that the identical AWPs would be
11          Do you have any knowledge or have you          11   published by those publications?
12   heard anything about the litigation brought by        12       A. I'm not really aware of the claims or
13   the seven states that I represent?                    13   testimony in the state litigation.
14      A. I believe I've seen articles in the             14       Q. Okay. Let me ask you to assume for the
15   newspapers about the state litigation. But            15   next series of questions that that is in fact the
16   otherwise, no.                                        16   case; that is, that the drug companies controlled
17      Q. Okay. Well, I only have a few                   17   the AWPs either by directly reporting an AWP that
18   questions for you. Starting with -- and I             18   was published in its identical form by these
19   apologize. I don't have the exhibit number in         19   publications or reported a different number known
20   front of me. But you were shown one OIG report.       20   as a WAC, a wholesale acquisition cost, by which
21   Do you recall that I believe Mr. Cook read a          21   the publication applied a mathematical formula to
22   portion of it to you that made a representation       22   arrive at an AWP. And then let me ask you a few
                                                                                84 (Pages 657 to 660)
                           Henderson Legal Services, Inc.
202-220-4158                                                    www.hendersonlegalservices.com

                                                                                          2bb07b98-05e4-4ace-bd89-45568f7b1cdf
             Case 1:01-cv-12257-PBS Document 6528-80 Filed 09/22/09 Page 6 of 7

DeParle, Nancy-Ann Min - Vol. II                                                     December 5, 2007
                                         Washington, DC
                                            Page 681                                                   Page 683
 1   that the actual wholesale price is lower than the  1     respect to you or Congress of which you're aware?
 2   average wholesale price?                           2            MS. YAVELBERG: Objection to form.
 3          MS. YAVELBERG: Objection, form.             3            MS. ALBEE: Objection to form.
 4      A. I'm sorry. This chart has six columns        4            MR. HAVILAND: Objection to form.
 5   or seven columns. And it's got the lowest, the     5         A. I don't recall.
 6   highest. Which one are you looking at?             6         Q. Can you tell me of any
 7      Q. I'm looking at the first two columns.        7     misrepresentations that anybody representing
 8   The average Medicare allowed amount in column 1 8        Abbott has ever made to you or to the government
 9   and the actual average wholesale price in column   9     of which you're aware?
10   2.                                                10            MR. HAVILAND: Objection.
11      A. All right.                                  11            MS. YAVELBERG: Objection.
12      Q. Can you confirm for me that in each of      12         A. Well, I can't speak for the government,
13   those instances the that actual average wholesale 13     first of all. To me, I can't recall.
14   price reported by the OIG is lower than the       14         Q. And can you recall or testify about any
15   average Medicare allowed amount?                  15     instance in which Abbott ever made any
16      A. Yes.                                        16     representations to you about AWP, how it was
17      Q. And so at least as of October 1, 1997       17     reported or what it represents?
18   you knew that for those 22 drugs representing 67 18          A. To me, no.
19   percent of Medicare Part B spending on drugs that 19            MR. COOK: I have no more questions.
20   the average wholesale prices published in         20            MR. HAVILAND: I have a couple of
21   compendia were not actual averages of wholesale 21       follow-ups unless others do in the room.
22   prices, correct?                                  22            MR. WALLACH: I have two. Jason
                                            Page 682                                                   Page 684
 1          MS. YAVELBERG: Objection, form.               1   Wallach on behalf of Baxter.
 2       A. No, I can't say that. I knew that for         2         MR. GORTNER: Why don't we go in order.
 3   these 22 drugs based on a statistical sampling       3         MR. WALLACH: Oh, I apologize.
 4   the OIG had determined what she called an actual     4         THE VIDEOGRAPHER: I'm going to have to
 5   average wholesale price that was different in the    5   change tapes.
 6   ways that were described in this chart. But I        6         MS. YAVELBERG: Okay.
 7   don't know if that was an actual wholesale price.    7         THE VIDEOGRAPHER: This is the end of
 8   It was a statistical sampling. We had a              8   tape 5. Off the record at 5:09.
 9   discussion about what that is earlier.               9            (Recess.)
10          So some might have been lower, some          10         THE VIDEOGRAPHER: This is the
11   might have been higher. I don't know -- the word    11   beginning of tape 6 in the deposition of Ms.
12   actual is a pretty technical term.                  12   DeParle. On the record at 5:22.
13       Q. And leaving semantics aside, is it fair      13
14   to say that the October 1, 1997 memorandum that     14             FURTHER EXAMINATION BY COUNSEL FOR
15   you initialed and that appears at page D2 of        15             THE DEY COMPANIES
16   Exhibit Abbott 002 accurately represents what you   16   BY MS. REID:
17   understood and believed as of October 1, 1997?      17      Q. This is Sarah Reid again. And I only
18          MR. HAVILAND: Object to the form.            18   have a few questions.
19       A. Yes.                                         19          You had testified not too long ago your
20       Q. Three very quick questions, Ms.              20   belief that when you started as administrator
21   DeParle. Has anyone representing Abbott ever        21   that AWP reflected an actual average price. Do
22   made any inappropriate lobbying attempts with       22   you remember that testimony?

                                                                               90 (Pages 681 to 684)
                         Henderson Legal Services, Inc.
202-220-4158                                                  www.hendersonlegalservices.com

                                                                                         2bb07b98-05e4-4ace-bd89-45568f7b1cdf
             Case 1:01-cv-12257-PBS Document 6528-80 Filed 09/22/09 Page 7 of 7

DeParle, Nancy-Ann Min - Vol. II                                                   December 5, 2007
                                         Washington, DC
                                            Page 685                                                 Page 687
 1          MR. HAVILAND: Can counsel bring her        1     spread?
 2   voice up? It's real hard to hear on the phone.    2            MS. YAVELBERG: Objection, form.
 3   I apologize for interjecting.                     3         A. I don't recall those words, no.
 4       Q. Do you recall that's the testimony that    4         Q. And do you recall seeing any slides in
 5   you gave to Mr. Haviland?                         5     which Ven-A-Care basically explained how the
 6       A. I thought average wholesale price meant    6     spread was used to cover Medicare's 20 percent
 7   average wholesale price, yeah.                    7     copayment, to pay kickbacks and provide windfall
 8       Q. An actual price. That AWP was an           8     profits?
 9   actual price.                                     9            MS. YAVELBERG: Objection to form.
10       A. I don't know that I would use the word    10         A. No, I don't.
11   actual. What I meant was that I thought that the 11         Q. Let me just show you that page that was
12   Red Book and the Blue Book had the wholesale     12     marked as Exhibit Abbott 206. And if you can't
13   prices that were paid out there in the           13     find it I'll just hand this one up to you. It's
14   marketplace and that's what it's an average of.  14     a whole volume. It's Exhibit Abbott 206.
15   I guess that's actual.                           15         A. It's several hundred pages, it looks
16       Q. So I want to direct your attention to     16     like.
17   March of 1998, shortly after you became the      17         Q. If you look in Exhibit Abbott 206 at
18   administrator and you had your meeting with Ven- 18     what's been Bates stamped as 2900669 --
19   A-Care representatives. And we've marked when 19            A. As I said before, I don't recall having
20   you were examined on the first day of your       20     seen this. And I'm puzzled when I look at the
21   deposition the materials of Ven-A-Care presented 21     first page of it because it says HCFA Office of
22   at that meeting. Do you recall?                  22     Financial Management. I don't remember anyone
                                            Page 686                                                 Page 688
 1          MS. YAVELBERG: Objection, form.              1   from there being at this meeting or having
 2      A. This is from day one. I don't think           2   anything to do with it. So I wonder if this was
 3   we've looked at it today. But yeah, I recall        3   actually given to me.
 4   that Mr. Cook presented those to me.                4          Tell me the number again.
 5      Q. And during that meeting Ven-A-Care            5       Q. 2900669. It has a slide on the top
 6   representatives told you that AWP was not an        6   where it talks about the spread?
 7   actual price or an actual average price, didn't     7       A. Yes.
 8   they?                                               8       Q. You see what it's referring to, that
 9          MS. YAVELBERG: Objection to form.            9   the spread is used to -- and then it goes through
10      A. I don't recall that. What I recall is        10   its five bullet points?
11   that they said that the drug companies were        11       A. (Nods head).
12   committing fraud.                                  12       Q. So is your testimony this having
13      Q. And do you recall that they explained        13   attended this meeting with Ven-A-Care you have
14   to you or showed you material of how the AWPs      14   absolutely no memory whatsoever that the
15   were reported to the publications and that they    15   gentleman from Ven-A-Care basically came in and
16   did not represent any actual price? Do you         16   told you that AWP was a false figure being
17   recall any discussion about that whatsoever?       17   falsely reported to the various compendia in
18          MS. YAVELBERG: Objection, form.             18   order to pay kickbacks, provide windfall profits,
19      A. I don't.                                     19   drive utilization, influence which drug a
20      Q. And do you recall their discussion           20   physician utilizes? Is that your testimony?
21   about how they alleged the manufacturers and the   21          MS. YAVELBERG: Objection to the form.
22   pharmaceutical companies were marketing the        22          MS. ALBEE: Objection to the form.
                                                                             91 (Pages 685 to 688)
                         Henderson Legal Services, Inc.
202-220-4158                                                 www.hendersonlegalservices.com

                                                                                       2bb07b98-05e4-4ace-bd89-45568f7b1cdf
